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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF PENNSYLVANIA


 RONALD C. KOLESAR,

                      Plaintiff,                        Case No. 1:22-cv-00113-SPB

        v.

 BULLYMAKE, LLC,

                      Defendant.


                                   NOTICE OF DISMISSAL

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A), Plaintiff Ronald C. Kolesar hereby voluntarily

dismisses with prejudice his claims against Defendant Bullymake, LLC.


                                           Respectfully submitted,

                                           /s/ R. Bruce Carlson
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